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             Exhibit 185
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
Capture URL: https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
Capture timestamp (UTC): Mon, 18 Jan 2021 22:25:08 GMT
                            Case 1:21-cv-00213-CJN Document 2-120 Filed 01/25/21 Page 3 of 18




Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
Capture URL: https://www.nytimes.com/interactive/2021/01/12/us/capitol-mob-timeline.html
Capture timestamp (UTC): Mon, 18 Jan 2021 22:25:08 GMT                                            Page 1 of 16
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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Document title: Insurrection at the Capitol: A Timeline of How It Happened - The New York Times
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